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                                                                                              FILED
                                                                                              CLERK
                                                                                            August 9, 2024
                                                                                     U.S. DISTRICT COURT
                                                                                EASTERN DISTRICT OF NEW YORK
                                                                                     LONG ISLAND OFFICE
   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   -----------------------------------------·X
    Dershawn Sibbles,


                                   Plaintiff,                             D RULE 26(t)
                                                               SCHEDULING ORDER
                                                               2:24-cv-04594 (JMW)
                       -against-


   Equifax Information Services LLC;
   Experian Information Solutions, Inc.;
   Trans Union LLC; Goldman Sachs
   Banks USA; Sofi Lending Corp.;
   Truist Bank, As Successor By Merger
   To Suntrust Bank d/b/a Lightstream;
   U.S. Bank National Association, As
   Indenture Trustee for VCC 2020-MCl
   Trust, and Pentagon Federal Credit
   Union,

                                   Defendants.
   ------------ ----- -- --------------- ------- ·X

        I.        DISCOVERY PLAN

   Pursuant to Rule 26(f)(3), the parties have conferred and jointly propose the fo llowing
   Discovery Plan:

      A. The Parties do not anticipate the need for any changes to the timing, form, or
   requirement for disclosures under Fed. R. Civ. P. 26(a).

       B. The Parties anticipate that discovery may be needed on at least the fo llowing
   subjects:
           Identity theft
           Credit reporting

       C. Discovery Limitations. The Parties have conferred and do not believe that any changes
   should be made to the limitations on discovery imposed under the Federal Rules of Civil Procedure
   or the Local Civil and Local Rules of the Southern and Eastern Districts of
   New York.
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       D. For cases where basis of subject matter jurisdiction is diversity:
             a. Is any party an LLC or partnership? YES/NO. If yes, ·list all members of the
                 LLC or partnership and their respective states of citizenship:
             b. Citizenship of each plaintiff:
             c. Citizenship of each defendant:


       E. ESI Discovery

   Have counsel discussed the existence of electronically stored information and discussed the
   location and production of such information, as required by Rule 26? YES_ NO lX.l.
   Have the parties entered into an ESI protocol stipulation? YES_ NO lX.l.
   Alternatively, if no ESI protocol is necessary because of the limited amount of ESI in the case,
   please check here: _ __
   If needed, the parties are referred to the court's website for an ESI protocol template.
   https:l/www.nyed.uscourts.gov/content/magi.strate-iudge-iames-m-wicks


   F         Confidentiality
   Do the parties anticipate the need for a confidentiality stipulation and order?
   YES lX.l. NQ_

   If needed, the parties are referred to the court's website for a Confidentiality Stipulation and
   Order template. https ://www.nved.uscourts.gov/content/magistrate-iudge-iames-m-wicks.


   MAGISTRATE CONSENT
   Pursuant to 28 U.S.C § 636(c), the parties have the right consent to have all proceedings, including
   trial, before a Magistrate Judge at any time. If the parties so consent, then the parties must file a
   Consent       to  Magistrate      Judge form         available     on    the     Court's     website,
   https://img.nyed.uscourts.govlfileslforms/ClerksNoticeofRule73.pdD.



       IT.      The parties' agreed-upon proposal for when discovery should be completed is set
                forth in Section II below.


    9/23/24                Exchange of Rule 26(a)(l) disclosures

    10/6/24                Service of first interrogatories and document demands


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      12/6/24             Responses to first interrogatories and document demands

      1/20/25             Motions to join new parties or amend the pleadings

   -1/20/25               Meet and confer regarding 30(b)(6) depositions [CORPORATE DEPS]

   _11(0/z,5:             Status conference to be held via Zoom. The Court will email a Zoom
                          invitation closer to the conference date. (DA,.:I:E TO BE FILLED IN BY
    t-1~AM                ~

      2/20/25
   ....;
                          Completion of all fact discovery

   -3/20/25               Identification of case-in-chief experts and service of Rule 26 disclosures

   _4/20/25               Identification of rebuttal experts and service of Rule 26 disclosures

   ....;5/1/25            Close of all discovery, including expert discovery

                          Final date by which parties shall take the first step of summary judgment
                          motion practice. Depending on the assigned district judge, the first action
                          commencing the practice would be either requesting a pre-motion
                          conference or initiating the exchange of Local C ivil Rule 56. 1 statements.



                                                                                               --
                          Parties are required to consult the individual rules of the district judge
                          regarding motion practice. [D 4 TE TO BE FILLED IN BY COURT]

                          Pretrial conference. These conferences shall be held via Zoom unless the
                          case is assigned to the undersigned for all purposes including trial. If the
                          assigned district judge requires one, a joint proposed pretrial order in
                          compliance with that judge's requirements and signed by counsel for each
                          party must be received by the undersigned 5 business days prior to this
                          conference. If a motion for summary judgment, or for a pre-motion
                          conference as to the same, is filed then the Pretrial Conference is adjourned
                          sine die and the requirement, ifany, to file a joint proposed pretrial order is

                                                                                                        -----
                          held in abeyance until further order of the court. ~ ATE TO DE FILLED
                          ~
           Pursuant to Rule 16, this scheduling order will be modified by the Court only upon a timely
   showing of good cause. See Parker v. Columbia Pictures Indus., 204 F.3d 326,340 (2d Cir. 2000);
   see generally Jeremiah J. McCarthy, Rule l 6(b)(4): Is "Good Cause" a Good Thing? Why I Hate
   Scheduling Orders, 16 Fed. Cts. L. Rev. 1 (2024) (discussing standards applied in determining
   "good cause" under Rule 16). Any request for modification of this scheduling order must be in
   writing, set forth the requisite good cause and fi led in accordance with the undersigned's Individual
   Rules. The paiiies are reminded that any requests to alter or extend a scheduling order after the
   deadlines have passed will need to establish good cause and in addition, excusable neglect, in
   accordance with Fed. R. Civ. P. 6(b)( l )(B).



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          Motions to resolve discovery disputes must be made by letter in accordance with Local
   Civil Rules 37.1 & 37.3 and in compliance with additional requirements set forth in the
   undersigned's Individual Rules, except deposition rulings which the Court encourages be sought
   during the deposition. Motions that do not comply with all requirements will be rejected.



   COUNSEL:
   The Law Offices of Robert J. Nahoum, P.C.         Cozen O'Connor
   Counsel for Plaintiff                             Counsel for Defendant, SoFi Lending Corp.


  Isl Bwt:T.Y/Wllltk frq.
    Robert J. Nahoum, Esq.                           Sarah Krissoff, Esq.


  Reed Smith LLP                                   McMichael Taylor Gray, LLC
  Counsel for Defendant, Truist Bank, as Successor Counsel for Defendant, US Bank NA as Indenture
  by      Merger      to      SunTrust       Bank Trustee for VCC 2020-MCJ
  d/b/a Lightstream


                                                     Isl ~ ~ b t , &,.
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  USA                                                Solutions, Inc.


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  Lauren McCabe, Esq.                                Graziella Pastor, Esq.


  Clark Hill P.C.
  Counsel for Defendant, Equifax Information
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   Dated:



                                 SO ~    RE~ A

                                 Isl: James M. ~icks

                                              KS
                         Unite          aoistrate
                                         0
                                                  Judge




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